Case 4:19-cv-02760 Document 70 Filed on 11/25/19 in TXSD Page 1 of 2
                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                 November 25, 2019
                                                                                  David J. Bradley, Clerk

                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

        JUSTIN C. PFEIFFER,             §   CIVIL ACTION NO.
                    Plaintiff,          §   4:19-cv-02760
                                        §
                                        §
                vs.                     §   JUDGE CHARLES ESKRIDGE
                                        §
                                        §
        AJAMIE PLLC d/b/a               §
        AJAMIE LLP, THOMAS              §
        R. AJAMIE, DONA                 §
        SZAK, JOHN WITHERS              §
        CLAY V,                         §
                    Defendants.         §

                                     ORDER

              The Court this day issued a memorandum and order
       granting a preliminary injunction. Dkt. 69. The Court filed this
       under seal.
                As stated in the Court’s procedures, a presumption exists
       as to public access to judicial records. “The right to public access
       ‘serves to promote trustworthiness of the judicial process, to curb
       judicial abuses, and to provide the public with a more complete
       understanding of the judicial system, including a better
       perception of its fairness.’” United States v Holy Land Foundation for
       Relief & Devotion, 624 F3d 685, 690 (5th Cir 2010), quoting
       Littlejohn v BIC Corp., 851 F2d 673, 682 (3d Cir 1988).
              The Fifth Circuit commits to this Court’s discretion the
       decision whether to allow public access to court records. Vantage
       Health Plan, Inc v Willis-Knighton Medical Center, 913 F3d 443, 450
       (5th Cir 2019). The dispute at hand presents concerns touching
       on attorney-client privilege and confidentiality. Yet courts “must
       balance the public’s common law right of access against the
Case 4:19-cv-02760 Document 70 Filed on 11/25/19 in TXSD Page 2 of 2




       interests favoring nondisclosure.” Id, quoting Securities &
       Exchange Commission v Van Waeyenberghe, 990 F2d 845, 848 (5th
       Cir 1993). The party seeking to seal matters “must explain in
       particularity the necessity for sealing . . . .” BP Exploration &
       Production, Inc v Claimant ID 100246928, 920 F3d 209, 211 (5th Cir
       2019).
               Per Judge Hittner, the Court previously ordered
       Defendant Ajamie LLP to show cause as to why Plaintiff
       Pfeiffer’s first amended complaint should not be unsealed. Dkt
       46 at 4. In line with this order, and having considered the
       applicable law, the Court finds that a redacted version of Docket
       69 should be filed on the public record, if possible.
              The Court ORDERS that, on or before Wednesday,
       December 4, Ajamie LLP must submit for consideration
       proposed redactions to the Court’s sealed memorandum and
       order at Docket 69.
              The Court further ORDERS that Ajamie LLP may, by
       motion filed with any redactions, also bring argument and
       reasons establishing why the memorandum and order should
       remain under seal entirely. But any such motion must include
       proposed redactions for consideration should the Court deny the
       motion.
              Pfeiffer may, but need not, respond within two days. The
       Court intends to rule promptly.
              It is so ORDERED.
              Signed on November 25, 2019 at Houston, Texas.



                                    Hon. Charles Eskridge
                                    United States District Judge




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